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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                  )    CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )    JUDGE DAN A. POLSTER
                                              )
                                              )    MAGISTRATE JUDGE DAVID A. RUIZ
                                              )
                                              )
                                              )    NOTICE OF COMPLIANCE
                                              )


       PLEASE TAKE NOTICE that the United States of America received a request for the

disclosure of official Department of Justice (“DOJ”) information in the above-captioned case.

Specifically, the request asks the Drug Enforcement Administration (“DEA”) to provide 22

years of documents in 37 different categories, the deposition testimony of 15 current and former

DEA employees, and Federal Rule of Civil Procedure 30(b)(6) testimony on 24 topics.

       Federal regulations govern the disclosure of official information by DOJ employees and

prohibit personnel from testifying absent express authorization. 28 C.F.R. § l 6.22(a). The

United States Supreme Court has long recognized the authority of agency heads to restrict the

testimony of their subordinates through regulations. United States ex rel. Touhy v. Ragen, 340

U.S. 462 (1951). These regulations are called “Touhy Regulations.” In the Touhy decision, the

United States Supreme Court held that a subordinate federal officer could not be found in

contempt of court for refusing to produce subpoenaed documents, where his refusal was based

on DOJ regulations prohibiting the disclosure of nonpublic documents without authorization of

the Attorney General. Id. at 466. The Court rejected the contention that the regulation invaded

the authority of the Courts to determine the admissibility of evidence. Id. at 468.
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       In this instance, the DOJ has not authorized disclosure of the requested information. The

DOJ’s decision letter is attached hereto as Government Exhibit A and will be provided to the

Court and all of the parties via the Court’s electronic filing system.


                                               Respectfully submitted,

                                               DAVID A. SIERLEJA
                                               First Assistant United States Attorney
                                               Attorney for the United States
                                               Acting Under Authority Conferred by 28 U.S.C. § 515


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                                   CERTIFICATE OF SERVICE

       I certify that, on July 25, 2018, I filed a copy of the foregoing electronically. The Court’s

electronic filing system will send notice of this filing to all parties. Parties may access this filing

through the Court’s system.


                                               /s/ James R. Bennett II
                                               JAMES R. BENNETT II
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